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                                                     March 27, 1975




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      Division of ei:medical and
        EnVironmental Research (DBER)
      U. 5. Energy Research and
        Development Administration
      Washington, D.C.   20545
      Daar Rudy:
           With the increasing pressures for greater domestic enerqy production,
     £RDA is praposing and many utility executives an urging that this comrtry s
     C041 reserves be rapidly developed to serve as the backbone a United
     $tateS' energy resources for at least the next hundred years, in toe
     atmospheric sciences. :hese plans have prompted formation of a resesrcn
     pmgram to investigate the potential sulfur/sJlfate concentraticns which
     may result. But at this crucial juncture in erergy plannica, trere seems
     to have oeer no critical assessment similar to tne CI4P weigning tne
     relative rrerits o' fossil fuel usage and, for cumple, acclear or solar
     anergy generation in which tne inalications anc conseauerces of continJing
     reliance on combustion of fossil fuels and the resulting increase ia
     atmospheric carbon cíoxide concentrations have been carefully considered.
     Rather, an inpl cit assumption nas 4Dparently been Tade that increasing
     atmospheric caroon cioxide is of no significance; a decision made without
     assessing the current indications that small chances can cwse large
     effects (e.g., Gmbecker, Coroniti, and Cannen, 1974).
           Carbon dioxíce is the one atmospheric constituent for which there
     is a very goad evidercê that it has been increasing frcm about 290 com in
     the mid 1300's to more then 325 ppm at present (see, for exanale, Callendar
     1958; Revelle, 1955; SCEP, 1970; SMIC, 1971). And based on extensive
     studies of tne carbon cycle, it seems quite clear that the aoproximately
     125 increase in atmospneric carbon dioxide corcentrations is well with n
     the emission estmatas from anthropogenic sources.    In fact present
     estimates of C03 emssions requim that about half of the enissions be
     taken up by the oceanic and/or other caraon reservoirs in order to l'mit
     the rate of increase in concentrations to the rate wnich is cbservec.
          A nureer of investigators (e.g., Pachta, 1972; Dugas, 1968; SCEP,
     1970; Fairnall, 1973; Crarner and Myers, 1972) have attempted to mocel the
     carbon cycle treating the various carbon reservoirs (nairely, the atmosphere,
     biosphere, humus, mixed ccean lajer, and deep ocean) in differing detail.
     And the en*ire carbon cycle has recently been reviewed in a biology related




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symposium (WMell and Pecan, 1973). While the projections for future
atmospheric   :entrations di ffer, they are unanimous in seeing a continu-
ing increase   atmospheric carbon dioxide concentrations if emissions con-
tinue at re   ably projected rates. These projections for the year 2000
range from    apm upwards to 415 ppm, with a likely value close to 385 ppm
(Machta, 1      That is about an 18% increase over present values, and
more than 3  over the base-line value from the 1800's.
     While such concentrations are small in an absolute sense and not a
direct threat to man, the range of indirect consequences seems large.
Such impacts can be expected to involve both the climate and the biosphere.
Although a trace gas, carbon dioxide plays a vital role in the atmospheric
radiation bal ance. Studies in the last twenty years have sought to refine
numerical calculations of the potential effects and current estimates,
which attemot ta account for at least some other atmospheric mechanisms
(e.g., convective adjustment), indicate that a doubling of carbon dioxide
(from 300 pcn to 600 ppm) would increase global average surface temperature
by 2 to 3 K ( see for example Manabe and Wetherald, 1967 and a draft review
Schneider, 1975). There have been, so far, only a limited number of studies
of the climatic effect in multi-dimensional models (e.g., Manabe and
Wetherald, '975) and these tend to indicate the effect will be at least
as large as incicated by radiation models alone. What has not been done
is to interpret the effects of these changes on man in terms of agriculture,
life-style, oman level, polar melting, etc. It should be noted, however,
that the obsered climate has responded somewhat di fferently than increase.d
CO2 alone woul a predict, and may do so in the future. This may be due to
natural fl ct ations or other factors, but in any case we will someday have
to face up to tne effects of increased CO2, and should therefore be aware
of them in advance whether they be beneficial or detrimental.
     The second effect is biological. Much of the biological cycle has
been treated in the AEC Symposiun Series oublication Carbon and Bioscnere
(Woodwell and Ncan, 1975). I sense that there remains a neeo for assess ent
of the CO2 effects cascade and a ccmparison of the effects cascades bet.seen
various erercy systens. Of crucial incortance in current discussions seems
to be oceanic cnemistry and its effect on marine organisms.

     I write this letter to urge that carbon dioxide effects be considered
in.evaluating eqergy strategy for tne next generation. Research see-s
needed in cl i tic effects as well as those biological areas succested in
the 1972 Caracn Synoosium. Just as there is a program on tne sul fur cyc!e,
there shculd be one on the carton cycle, trying to focus toward contiruina
evaluation of potential effects which can be used in long tenn enercy planning.

                                   Sincerely yours,

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MCM: cl m                          Michael C. MacCrack en
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c:   J. B. hux                     Atmospneric and Ceopnysical
     D. H. Sìo   -                   Sciences Otvision
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     Tom aey set kace that the legLalation establish1ag KEA
    has charged es with (1) reviewing ongoías research re.
    Lattag to emetsy, and (J) enual subestaaloa to cangrese
    of a plan and program to achieve solutions to the enessy
    serply and associated envinnessnal problees.
    Dr. MacGraetes has semaerised the carbon dioxide issue
     (anclased) at my request se that I can see it as a ettsutus
    La initiatang as SMA evaluattaa og CO2 research.
    would you please Les een knew
    (1) Whether you believe that the Rettenal prepas as 00
    18 edegiate la view of the time scale of the problem
    (2) desbar you eam Edentify weaknesses tebash additieaal
    fandtag would help alleviate
      ) what mechanise fue suggest for settling ce se answer to
    the above two queettoes (for instaase, should ghs sansat Ag
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   any cell him (J01.973.3M3) abould I be est.



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